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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 KEMARI AVERETT                               )
                       Plaintiff              )
                                              )
                                              )       Civil Action No. 3:19-CV-00116-BJB-RSE
 v.                                           )
                                              )
                                              )
 UNIVERSITY OF LOUISVILLE, et al.             )
                                              )
                       Defendants             )
                                              )


       NOTICE TO TAKE DEPOSITION OF DR. ANGELA TAYLOR VIA ZOOM

                   ________________________________________________


        Please take notice that counsel for Plaintiff , Kemari Averett, pursuant to the Federal Rules

 of Civil Procedure, will take the deposition of Dr. Angela B. Taylor on April 23, 2021, beginning

 at 10:00 a.m. The deposition will be taken remotely with Instructions for video conferencing to

 follow this notice prior to the deposition. This deposition will continue from day to day until

 completed, Sundays and holidays excepted.

                                                              Respectfully Submitted,


                                                               / s / Aubrey Williams
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                                CERTIFICATE OF SERVICE

        It is hereby certified that on April 5, 2021 the foregoing Notice of Deposition was filed

 with the Clerk of this Court via the Court’s CM/ECF electronic filing system, which will send

 notice of filing on even date to the individuals listed below:


 Hon. Donna King Perry, and
 Hon. Matthew Barszcz
 Dinsmore & Shohl, LLP
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 Louisville, KY 40202
 E: Donna.Perry@dinsmore.com
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 Counsel for Defendants Shirley Ann Hardy, Angela B. Taylor,
 Ph.D., Michael Mardis, PhD., University of Louisville, Board of
 Trustees, and Detective William Brown

 Hon. Jeremiah Byrne
 D. Christopher Robinson
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                                                                         / s/ Aubrey Williams
